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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

THE PARISH OF PLAQUEMINES
          Plaintiff                                     CIVIL ACTION NO.: 2:18-cv-05264

VERSUS
                                                        JUDGE: FELDMAN
CAMPBELL ENERGY CORPORATION,
BEPCO, L.P., BOPCO, L.P., EXXON
MOBIL CORPORATION,                                      MAGISTRATE JUDGE: NORTH
CONOCOPHILLIPS COMPANY,
GRAHAM ROYALTY, LTD., GULF
EXPLORATION COMPANY, INC.,
CHEVRON U.S.A., INC., GULF
PRODUCTION COMPANY, INC.,
KENMORE OIL CO., INC., THE
LOUISIANA LAND AND
EXPLORATION COMPANY LLC,
LINDER OIL COMPANY, A
PARTNERSHIP, LLOG EXPLORATION
& PRODUCTION COMPANY, L.L.C.,
FREEPORT-MCMORAN OIL & GAS
LLC, RESOURCES INVESTMENT
CORPORATION, SPARTAN
MINERALS, LTD., CHEVRON U.S.A.
HOLDINGS, INC., AND EDWIN L. COX
            Defendants.




    DEFENDANTS’ MEMORANDUM IN SUPPORT OF THE MOTION FOR STAY
                   PENDING MDL DETERMINATION



       The Court should stay the case – and particularly consideration of remand – until after the

Judicial Panel on Multidistrict Litigation (“JPML”) rules on a pending motion to coordinate

proceedings in this case and 40 other cases (the “MDL Motion”). The JPML is scheduled to

meet on July 26, 2018.



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       Plaintiffs agree that the more than forty substantially similar removed cases should be

stayed, except that plaintiffs do not want the Court to stay consideration of the Parish’s expected

motion to remand and possible related discovery the Parish is considering issuing to support its

motion to remand. Plaintiffs’ position makes no sense: the Court and the parties would benefit

from a coordinated handling of the remand motions in this and the other 40 cases.

       On May 23, 2018, defendants removed this case from state court. On the same day and

ensuing days, defendants removed 40 other cases, asserting largely the same bases for removal.

On May 25, 2018, defendants filed a motion asking the JPML to coordinate pretrial proceedings

in all 41 cases before a single judge.

       On May 30, 2018, counsel for the Parish informed defendants that the Parish agrees to a

stay of all proceedings in this case pending resolution of its anticipated motion to remand. The

Parish said that plaintiffs would take the position that the Parish’s motion to remand should be

decided before the JPML resolves the MDL Motion.

       Moving Defendants agree that it would be inefficient for the parties to engage in

discovery, dispositive motion practice, or other pretrial work before jurisdictional issues are

resolved. But defendants disagree that it makes any sense for the Court to resolve the motion to

remand in this case before the MDL Motion. If the JPML grants the MDL Motion, the JPML

will transfer all 41 cases so that one judge can coordinate all pretrial proceedings—including

motions to remand—as efficiently as possible. Under plaintiffs’ proposal, multiple judges will

need to consider and resolve the similar factual and legal issues raised by plaintiffs’ remand

motions. There is no reason for multiple judges to duplicate efforts in resolving motions and to

potentially make inconsistent rulings when all cases might be transferred to a single judge.




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       This Court has inherent power to stay proceedings. “Whether or not to grant a stay is

within the Court’s discretion and a stay is appropriate when it serves the interests of judicial

economy and efficiency. Louisiana Stadium & Exposition Dist. v. Fin. Guar. Ins. Co., 2009 WL

926982, at *1 (E.D. La. Apr. 2, 2009). When considering a stay pending resolution of a motion

for coordinated proceedings, the Court “should consider three factors: (1) potential prejudice to

the non-moving party; (2) hardship and inequity to the moving party if the action is not stayed;

and (3) the judicial resources that would be saved by avoiding duplicative litigation if the cases

are in fact consolidated.” Id.

       Here, plaintiffs will suffer no prejudice, hardship, or inequity by staying these cases until

the JPML rules on the MDL Motion. Plaintiffs already say they want this Court to stay

proceedings other than their motion to remand. Plaintiffs clearly do not believe a delay in

discovery, obtaining a case management order, or even trial dates will prejudice them. And, any

delay in resolution of plaintiffs’ motion to remand will be minimal. The next date for a hearing

session before the JPML is July 26, 2018. If the JPML grants the motion, the cases will be

coordinated before a single judge, who can then rule on the motion to remand. That would avoid

the need for multiple judges to make rulings on the similar legal issues that plaintiffs’ motion to

remand will inevitably raise and avoid potential inconsistent rulings.

       “Courts frequently grant stays in cases when an MDL decision is pending.” Cajun

Offshore Charters, LLC v. BP Products N. Am., Inc., 2010 WL 2160292, at *2 (E.D. La. May 25,

2010). In Cajun Offshore, BP filed a motion “to consolidate the many cases related to the

Deepwater Horizon explosion before the Judicial Panel for Multidistrict Litigation pursuant 28

U.S.C. § 1407” on May 7, 2010. The motion was “expected to be heard in late July 2010.” Judge




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Feldman granted the motion because he concluded the delay was in the interest of judicial

economy.

       With at least seventy lawsuits in different districts, the defendants face the burden
       of litigating in multiple jurisdictions. More importantly, between the various
       lawyers and judges on the cases, there is a grave potential for conflicting
       discovery orders. This poses not only a hardship for the defendants, but mocks an
       efficient and orderly judicial system.

Id.

       Here, plaintiffs would face a delay similar to the one faced by the parties in Cajun

Offshore. But unlike Cajun Offshore, plaintiffs here want the court to delay pretrial proceedings

(other than consideration of their motion to remand). Whatever delay plaintiffs will experience is

slight; the gains in efficiency in having one judge resolve the motions to remand will be

substantial. As Judge Engelhardt observed in granting a motion to stay in Louisiana Stadium,

2009 WL 926982, at *1: “The waste of judicial resources, however – especially if, as seems

likely, a motion to dismiss is filed – would be substantial (assuming the MDL was eventually

granted), since the Court would have to spend time familiarizing itself with the intricacies of a

case involving complex financial transactions that will ultimately be heard by another judge.”

Exactly the same is true here.

       For the foregoing reasons, moving Defendants request that the Court stay proceedings in

this case until the JPML rules on the MDL Motion.




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                              Respectfully submitted:

                              KEAN MILLER LLP

                              /s/ Claire E. Juneau
                              Michael R. Phillips (#21020)
                              mike.phillips@keanmiller.com
                              Brett P. Fenasci (#29858)
                              brett.fenasci@keanmiller.com
                              Claire E. Juneau (#33209)
                              claire.juneau@keanmiller.com
                              Shannon Shelton Cobb (#34762)
                              shannon.cobb@keanmiller.com
                              909 Poydras Street, Suite 3600
                              New Orleans, LA 70112
                              Telephone: (504) 585-3050
                              Facsimile: (504) 585-3951
                              -and-

                              KEAN MILLER LLP
                              Charles S. McCowan, III (#19699)
                              trey.mccowan@keanmiller.com
                              Pamela R. Mascari (#25162)
                              pam.mascari@keanmiller.com
                              II City Plaza
                              400 Convention St., Suite 700
                              Post Office Box 3513 (70821)
                              Baton Rouge, Louisiana 70802
                              Telephone: (225) 387-0999
                              Facsimile: (225) 388-9133
                              -and-

                              SUSMAN GODFREY L.L.P.
                              Eric J. Mayer (#14184)
                              emayer@susmangodfrey.com
                              Alexandra White (#29478)
                              lwhite@susmangodfrey.com
                              1000 Louisiana Street, Suite 5100
                              Houston, Texas 77002-5096
                              Telephone: (713) 651-9366
                              Facsimile: (713) 654-6666

                              Attorneys for Defendants Chevron U.S.A. Inc. and
                              Chevron U.S.A. Holdings Inc.




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                              /s/ Michele DeShazo_____________________
                              Deborah D. Kuchler, T.A. (#17013)
                              Robert E. Guidry (#28064)
                              Sarah E. Iiams (#22418)
                              Michele Hale DeShazo (#29893)
                              KUCHLER POLK WEINER, LLC
                              1615 Poydras Street, Suite 1300
                              New Orleans, LA 70112
                              T. 504-592-0691
                              F. 504-592-0697

                              Attorneys for ConocoPhillips Company and The
                              Louisiana Land and Exploration Company LLC


                              /s/ Robert McNeal          ________________
                              Robert B. McNeal (No. 14211)
                              rbmcneal@liskow.com
                              LISKOW & LEWIS
                              One Shell Square
                              701 Poydras Street, Suite 5000
                              New Orleans, Louisiana 70139-5099
                              Telephone: (504) 581-7979
                              Facsimile: (504) 556-4108

                              Michael P. Cash (No. 31655)
                              mcash@liskow.com
                              LISKOW & LEWIS
                              First City Tower
                              1001 Fannin Street
                              Houston, Texas 77002-6756
                              Telephone: (713) 651-2900
                              Facsimile: (713) 651-2908
                              -and-

                              Jamie D. Rhymes (No. 24621)
                              jdrhymes@liskow.com
                              LISKOW & LEWIS
                              822 Harding Street
                              Lafayette, Louisiana 70503
                              Telephone: (337) 232-7424
                              Facsimile: (337) 267-2399
                              -and-

                              Martin A. Stern (No. 17154)
                              martin.stern@arlaw.com

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                                            Glen M. Pilié (No. 1539)
                                            glen.pilie@arlaw.com
                                            Jeffrey E. Richardson (No. 23273)
                                            jeffrey.richardson@arlaw.com
                                            Alexandra G. Roselli (#37847)
                                            alexandra.roselli@arlaw.com
                                            ADAMS AND REESE LLP
                                            701 Poydras Street, Suite 4500
                                            New Orleans, Louisiana 70139
                                            Telephone: (504) 581-3234
                                            Facsimile: (504) 566-0210
                                            -and-

                                            Roy C. Cheatwood (No. 04010)
                                            rcheatwood@bakerdonelson.com
                                            Monica A. Frois (No. 20187)
                                            mfrois@bakerdonelson.com
                                            Matthew A. Woolf (No. 27146)
                                            mwoolf@bakerdonelson.com
                                            Tyler L. Weidlich (No. 30790)
                                            tweidlich@bakerdonelson.com
                                            BAKER, DONELSON, BEARMAN,
                                            CALDWELL & BERKOWITZ
                                            201 St. Charles Avenue, Suite 3600
                                            New Orleans, Louisiana 70170
                                            Telephone: (504) 566-5200
                                            Facsimile: (504) 636-4000

                                           Attorneys for Exxon Mobil Corporation



                                CERTIFICATE OF SERVICE


       This is to certify that on May 30, 2018, a copy of the foregoing was filed electronically

with the Clerk of Court of the United States District Court for the Eastern District of Louisiana

using the CM/ECF system, which then issued electronic notices of the filing to registered

attorneys in the federal CM/ECF PACER system.

                                          /s/Claire E. Juneau




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